           Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 1 of 8




                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT


    RYAN MERHOLZ, and MELVYN KLEIN,                     Case No.: 3:20-cv-00557-VAB
    Derivatively On Behalf Of WORLD WRESTLING
    ENTERTAINMENT, INC.,

                           Plaintiffs,
                   v.

    VINCENT K. MCMAHON, STEPHANIE
    MCMAHON, PAUL LEVESQUE, FRANK A.
    RIDDICK, III, STUART U. GOLDFARB,
    LAUREEN ONG, ROBYN W. PETERSON, MAN
    JIT SINGH, JEFFREY R. SPEED, ALAN M.
    WEXLER, GEORGE A. BARRIOS, and
    MICHELLE D. WILSON,

                           Defendants,

    WORLD WRESTLING ENTERTAINMENT,
    INC.,

                          Nominal Defendant.



                        PLAINTIFFS’ RESPONSE TO MOTION TO INTERVENE

      Plaintiffs Ryan Merholz and Melvyn Klein (“Plaintiffs”) respectfully submit this response to

purported World Wrestling Entertainment, Inc. (“WWE” or the “Company”) shareholder Dennis

Palkon (“Proposed Intervenor”) Motion for Leave to Intervene (the “Intervention Motion”).1

      I.     INTRODUCTION




1
       Another purported shareholder of WWE, Bernard Leavy (“Leavy”), has joined in the
Intervention Motion.
          Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 2 of 8




       The Intervention Motion is based on a single premise: that inspection of WWE’s books

and records pursuant to 8 Del. C. § 220 (“Section 220”) is necessary to bring the above-captioned

shareholder derivative actions (the “Actions”). It is not.

       Delaware courts, along with countless federal and state courts across the country applying

Delaware law, have regularly concluded that shareholders who did not pursue a books and records

inspection pursuant to Section 220 prior to filing a derivative action had adequately alleged

demand futility. A Section 220 inspection is by no means necessary. And at the same time,

derivative cases brought under Delaware law have been routinely dismissed in Delaware and

elsewhere for failure to sufficiently allege demand futility even when the plaintiffs did pursue

inspections pursuant to Section 220.

       As a threshold matter, the Proposed Intervenor’s argument that Plaintiffs are somehow

inadequate derivative plaintiffs because they elected to bypass an optional pre-suit inspection

demand under Section 220 has been squarely denied by the very courts Proposed Intervenor relies

on for the proposition that there is only one required way to proceed in a derivative action. The

Delaware Supreme Court has specifically rejected the notion that shareholders who file derivative

actions without first seeking books and records pursuant to Section 220 are inadequate derivative

representatives. Pyott v. Louisiana Mun. Police Emp. Ret. Sys. 74 A.2d 612, 618.

       According to the Intervention Motion, the Proposed Intervenor served an inspection

demand pursuant to Section 220 on WWE on May 6, 2020 (the “220 Demand”). Mem. at 8.

Despite a claim that WWE changed counsel in August 2020, the Proposed Intervenor previously

had three months to execute a confidentiality agreement and receive the documents.     It was not

until Defendants’ motion to dismiss was fully briefed and calendared for oral argument that

Proposed Intervenor announced himself on the dockets of the Actions.
          Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 3 of 8




       Moreover, the Actions do rely on primary sources from within WWE to plead that pre-suit

demand is futile, including sworn testimony from WWE insiders. Those allegations, which do not

require supplementation from a production of documents hand-picked by WWE, demonstrate

clearly when WWE became aware of critical facts regarding the termination of its media rights

agreement in the Middle East and, Plaintiffs believe, provide the requisite pleading stage

inferences that pre-suit demand was excused. Critically, these same sworn documents also

provided the foundation for the Honorable Jed S. Rakoff’s decision denying WWE’s motion to

dismiss the related securities under the heightened pleading requirements of the Private Securities

Litigation Reform Action. While Plaintiffs recognize that this Court has granted the motion to

dismiss, Plaintiffs nonetheless believe they have a strong basis for their claims that pre-suit demand

is futile. The additional documents produced by WWE to Proposed Intervenor do not apparently

change the existing dynamic. That the Court recently found that the Actions did not adequately

plead demand futility does not change this analysis. ECF No. 82. Plaintiffs are confident that if

given the opportunity to amend, they will be able to cure the pleading deficiencies identified by

the Court.

       While the Proposed Intervenor and his counsel were determining what, if anything, they

intended to do after serving the 220 Demand, Plaintiffs and their counsel were busy litigating the

Actions against the Individual Defendants in the best interests of WWE. During the months of

delay in Proposed Intervenor’s Section 220 “investigation,” Plaintiffs coordinated their efforts

with the other Plaintiffs who filed actions and amended their complaints after receipt of non-public

documents from WWE. Thereafter, the Plaintiffs with filed actions continued to coordinate their

efforts and filed an omnibus opposition to both the Company’s and the Individual Defendants’

motion to dismiss. Plaintiffs’ vigorous and effective prosecution of the Actions should lead the
           Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 4 of 8




Court to the only logical conclusion — that the Company’s derivative claims are in good hands,

those claims are being actively and zealously litigated by competent counsel, and the Proposed

Intervenor and his counsel should not be permitted to delay the litigation of the instant Action.

         Finally, despite a statement that the Intervention Motion seeks the appointment of lead

counsel to govern the Actions, the memorandum of law does not address the factors governing the

appointment of lead counsel. Instead, Proposed Intervenor attempts to have the relief granted

solely through the Motion’s proposed order.         This relief, it is worth noting, includes the

appointment of four law firms as lead counsel. See ECF 68-2 at ¶3. If Proposed Intervenor’s

multiple counsel belatedly wish to lead this litigation, they should file an action in this Court and

move for this relief separate and apart from the Motion. Proposed Intervenor likely has not done

so because while they waited for WWE to produce documents to them, WWE changed the

composition of its Board of Directors by adding Directors, thus making a showing of that demand

upon the Board is even more difficult.

   II.      ARGUMENT

         A. No Inspection is Required to Meet the Derivative Pleading Standard
         The Intervention Motion emphasizes both the supposed need for, and the relevance of, pre-

filing books and records inspections with respect to shareholder derivative actions. The Motion

seeks to persuade this Court that only by pursing an investigation pursuant to Section 220 could a

derivative plaintiff ever meet their pleading burden. This is incorrect.

         The Proposed Intervenor criticizes the approach taken by Plaintiffs, citing cases in which

Delaware courts “encouraged” shareholders to avail themselves of Section 220 before filing

derivative suits. See, e.g., Mem. at 2.   In any given situation, however, reasonable shareholders

and their counsel differ as to the best and most effective manner of pursuing derivative claims

under Delaware law. See Butler, Fitzgerald & Potter v. Sequa Corp., 250 F.3d 171, 181 (2d Cir.
          Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 5 of 8




2001) (“If disagreement with an existing party over trial strategy qualified as inadequate

representation, the requirement of Rule 24 would have no meaning.”)

       Here, Plaintiffs and the Proposed Intervenor simply chose to pursue different courses of

action, though the slower route chosen by Proposed Intervenor and the resulting additions of

Directors to the Board, has consequences. “While differences of opinion regarding how to pursue

a derivative claim can conceivably rise to the level of antagonism that would preclude adequate

representation, conclusory allegations and hypothetical disagreements are insufficient.” In re

Ambac Fin. Group, Inc. Deriv. Litig. (S.D.N.Y. 2009) 257 F.R.D. 390, 393; see also In re Am.

Capital Agency Corp. Stockholder Derivative Litig. (August 2, 2017) No. TDC-16-3215, 2017

U.S. Dist. LEXIS 122119 at *13-14 (“[W]here, as here, ‘the party seeking intervention has the

same ultimate objective as a party to the suit, a presumption arises that its interests are adequately

represented’ unless the proposed intervenor can show "adversity of interest, collusion, or

nonfeasance.”)

       In truth (though not mentioned by the Proposed Intervenor), while Delaware courts have

at times suggested that shareholders should utilize Section 220 prior to filing a derivative suit,

courts applying Delaware law also have repeatedly found that derivative plaintiffs adequately

alleged demand futility without having first sought books and records pursuant to Section 220, and

sustained derivative complaints (either in whole or in part) as a result. See, e.g., In re Zillow Grp.,

Inc. S’holder Derivative Litig., No. C17-1568-JCC, 2020 WL 978503, at *3 (W.D. Wash. Feb. 28,

2020); In re SCANA Corp. Derivative Litig., No. CV 3:17-3166-MBS, 2018 WL 3141813, at *6

(D.S.C. June 27, 2018); Pfeiffer v. Leedle, 2013 WL 5988416 (Del. Ch. Nov. 8, 2013); Ryan v.

Gifford 918 A.2d 341 (Del. Ch. 2007); Pfeiffer v. Toll, 989 A.2d 683, 691 Del. Ch. 2010); Weiss

v. Swanson 948 A.2d 433 (Del. Ch. 2008); Conrad v. Blank, 940 A.2d 28 (Del. Ch. 2007); In re
           Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 6 of 8




Tyson Foods, Inc., 919 A.2d 563 (Del. Ch. 2007); In re Citigroup, Inc. S’holder Deriv. Litig., 964

A.2d 106 (Del. Ch. 2009); MCG Capital Corp. v. Maginn, 2010 WL 1782271 (Del. Ch. Mar. 3,

2010); Seinfeld v. Slager, No. 6462–VCG, 2012 WL 2501105 (Del. Ch. June 29, 2012); In re The

Student Loan Corp. Deriv. Litig., 2002 WL 75479 (Del. Ch. Jan. 8, 2002).2

         With respect to Leavy’s pending action seeking documents pursuant to Section 220, it must

be noted that not all shareholders’ efforts to obtain corporate books and records pursuant to Section

220 are successful. See, e.g., Cook v. Hewlett-Packard Co. No. 8667–VCG, 2014 WL 311111

(Del. Ch. Jan. 30, 2014)(denying shareholder’s request for production of additional books and

records following trial in action brought pursuant to Section 220); Central Laborers Pension Fund

v. News Corp. 45 A.3d 139 (Del. 2012) (affirming dismissal of action brought pursuant to Section

220); City of Westland Police & Fire Ret. Sys. v. Axcelis Technologies, Inc. No. 4473-VCN, 2009

WL 3086537(Del. Ch. Sept. 28, 2009) (dismissing Section 220 proceeding following trial and

ruling in defendant’s favor); Highland Select Equity Fund, L.P. v. Motient Corp. 906 A.2d 156

(Del. Ch. 2006)(same).

         B. The Actions Rely on Testimony Produced By WWE
         The quibbles the Proposed Intervenor has with the Actions rests on a faulty premise: that

the “pending cases rest on public materials alone.” Mem. at 9. This is inaccurate. Even a tangential

review of the allegations in the Actions would have informed the Proposed Intervenor of this fact.

While Plaintiffs did not pursue a Section 220 request, Plaintiffs are in possession of documents



2
         Nor is the use of Section 220 a panacea to buttress the pleading challenges facing shareholder derivative
actions. There is no guarantee that after the delay occasioned in obtaining books and records pursuant to Section 220
actually contain information of real value, or that the shareholder who obtains books and records will ultimately be
able to adequately plead demand futility in a derivative action. See, e.g., In re CNET Networks, Inc. S’holder Deriv.
Litig. No. C 06–03817 WHA, 2008 WL 2445200 (N.D. Cal. June 16, 2008) (granting motion to dismiss under Fed.
R. Civ. P. 23.1 and finding that pre-suit demand was required under Delaware law even where plaintiffs’ complaint
was based on books and records previously obtained pursuant to Section 220); In re Liquidity Services, Inc. Derivative
Litigation 2017 WL 5735453 (Del. Ch. Nov. 27, 2017) (same).
             Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 7 of 8




produced by Defendants, in the form of sworn declarations from multiple WWE employees.

Though Plaintiffs acknowledge this Court’s ruling on the motion to dismiss, Plaintiffs remand

steadfast in their belief that the sworn declarations of WWE insiders prove a fact critical to both

the question of demand futility and the underlying causes of action: that Defendants knew that the

WWE sole media rights agreement in the Middle East region with OSN had been terminated in

December 2019. As detailed in Plaintiffs’ opposition to the motion to dismiss and emphasized at

oral argument, these documents demonstrate that both pre-suit demand is futile and that the instant

Action has appropriately stated a claim.

           Perhaps tellingly, there are excessive redactions to the Motion.3 Yet, Proposed Intervenor

never argues that the additional “vital details” obscured by the redactions in Proposed Intervenor’s

complaint carry the day in showing that demand upon Proposed Intervenor’s current, enlarged

Board, is futile.

    III.      CONCLUSION

           For the reasons stated herein, the Motion to Intervene should be denied and Plaintiffs

should be permitted an opportunity to amend their complaint in the instant Action.

Dated: November 20, 2020

                                                Respectfully submitted,

                                                GAINEY McKENNA & EGLESTON

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      Plaintiffs do not have access to the unredacted Motion provided to the Court by the
Proposed Intervenor.
Case 3:20-cv-00557-VAB Document 90 Filed 11/20/20 Page 8 of 8




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